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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                   No. 4:14CR00010 JLH

EDDIE JEROME GILLIAM                                                               DEFENDANT

                                            ORDER

       The United States has filed a motion and an amended motion to dismiss the charges in

Count 11 of the Superseding Indictment and the Second Superseding Indictment on the grounds that

Eddie Jerome Gilliam has pled guilty in state court to charges arising from the same conduct as the

charges in those counts.1 The motions are GRANTED. Documents #353 and #354. Count 11 in

the Superseding Indictment and the Second Superseding Indictment is hereby dismissed without

prejudice.

       IT IS SO ORDERED this 12th day of January, 2015.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE




       1
          The amended motion also seeks to dismiss Count 11 of the original Indictment, but
there is no such count.
